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✎ PS 8
(3/15)


                                UNITED STATES DISTRICT COURT                                                                 FILED IN THE
                                                                                                                         U.S. DISTRICT COURT
                                                                                                                   EASTERN DISTRICT OF WASHINGTON

                                                                         for
                                               Eastern District of Washington
                                                                                                                    Dec 02, 2021
                                                                                                                        SEAN F. MCAVOY, CLERK




U.S.A. vs.                        Felix, Alberto                                          Docket No.            0980 2:21CR00053-WFN-2


                                  Petition for Action on Conditions of Pretrial Release

       COMES NOW Elizabeth Lee, PRETRIAL SERVICES OFFICER, presenting an official report upon the conduct of
defendant Alberto Felix, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers sitting in the court at Spokane, Washington, on the 4th day of June 2021 under the following conditions:

Standard Condition # 6: Defendant shall report to the United States Probation Office before or immediately after release and
shall report as often as they direct, at such times and in such manner as they direct.

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal law.
Defendant may not use or possess marijuana, regardless of whether defendant has been authorized medical marijuana under
state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                       (If short insert here; if lengthy write on separate sheet and attach.)


Violation #4: Alberto Felix is alleged to be in violation of his pretrial release conditions by using marijuana on or about
November 6, 2021.

Violation #5: Alberto Felix is alleged to be in violation of his pretrial release conditions by failing to report to the U.S.
Probation Officer by telephone as instructed on November 22, 2021.

Violations 4 and 5 preface combined for brevity:

On June 8, 2021, the conditions of pretrial release supervision were reviewed with Mr. Felix, which he signed acknowledging
an understanding of his conditions, which included standard conditions number 6 and 9. Mr. Felix was referred to Merit
Resource Services (Merit) to participate in the color line program for random drug testing and to complete a substance abuse
evaluation. He was instructed to call the color line daily, Monday through Friday, and to report in person for drug testing if
his assigned color, Gold, was called. Mr. Felix verbalized understanding.

On October 12, 2021, the undersigned officer instructed Mr. Felix to report weekly by telephone on Monday’s and to leave
a voice message if the undersigned officer did not answer.

On November 8, 2021, Mr. Felix completed a random drug test at Merit and this drug test was presumptive positive for
marijuana. Merit staff sent this drug test to Abbott Laboratory for confirmation. On November 9, 2021, Mr. Felix reported
to the undersigned officer to advise this drug test was presumptive positive for marijuana. Mr. Felix denied new use of
marijuana. On November 18, 2021, Mr. Felix reported to the probation office. During this contact, Mr. Felix reported to the
undersigned officer he had been completing drug tests at home to see if he continued to test positive. The undersigned officer
questioned Mr. Felix if he had used drugs, to include marijuana, since the last reported use on October 23, 2021. Mr. Felix
denied new drug use.

On November 20, 2021, the probation office received the report from Abbott Laboratory for the drug test completed on
November 8, 2021, confirming the positive result for marijuana.
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   Re: Felix, Alberto
   November 30, 2021
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On November 23, 2021, the undersigned officer requested Abbott Laboratory complete an interpretation results letter
comparing the specimen previously collected on October 25, 2021, which was positive for cocaine and marijuana, to the
specimen collected on November 8, 2021. That same date, the undersigned officer received the interpretation results letter from
Abbott Laboratory confirming the specimen collected on November 8, 2021, indicating the positive results for marijuana was
new use.

On November 23, 2021, the undersigned officer made telephonic contact with Mr. Felix, as he had failed to report by telephone
on Monday, November 22, 2021. Mr. Felix admitted to the undersigned officer he forgot to call this officer on November 22,
2021, as he had gone to Merit to complete a drug test, which was presumptive positive for marijuana. Mr. Felix did not remedy
his failure to report by trying to contact this officer the following day, or after his presumptive positive test, but rather he
waited for this officer to contact him. The undersigned officer again questioned Mr. Felix if he had used marijuana since the
last reported use, and he continued to deny new use. The undersigned officer informed Mr. Felix the interpretation results letter
had been received from the laboratory indicating he used marijuana again since his last reported use. Mr. Felix continued to
deny any new marijuana use. After further discussion, Mr. Felix later admitted to drinking a juice that was inside his nephew's
vehicle, which he did not know contained marijuana until after he drank the juice. Mr. Felix did not know the name of the juice
he drank, and could not verify or provide proof of what he drank. When asked why he had not been honest about the new use,
Mr. Felix reported he did not know the marijuana juice would have been enough to raise the drug levels.

       PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATION(S)
                            PREVIOUSLY REPORTED TO THE COURT

                                                                             I declare under the penalty of perjury
                                                                             that the foregoing is true and correct.

                                                                             Executed on:        November 30, 2021

                                                                     by      s/Elizabeth Lee

                                                                             Elizabeth Lee
                                                                             U.S. Pretrial Services Officer


THE COURT ORDERS

[ ]       No Action
[ ]       The Issuance of a Warrant
[ ]       The Issuance of a Summons
[X ]      The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
[ ]       Defendant to appear before the Judge assigned to the case.
[ ]       Defendant to appear before the Magistrate Judge.
[ ]       Other


                                                                               Signature of Judicial Officer

                                                                                 12/2/21
                                                                               Date
